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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 07-cr-64-PB

Jason Thomas



                               O R D E R



     The defendant, through counsel, has moved to continue the

January 8, 2008 trial in the above case, citing the need for

additional time to finalize a plea agreement or otherwise prepare

for trial.   The government does not object to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from January 8, 2008 to April 1, 2008.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The December 20, 2007 final pretrial conference is continued

to March 27, 2008 at 3:45 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 20, 2007

cc:   Bjorn Lange, Esq.
      Paul Pappas, Esq.
      Peter Papps, AUSA
      United States Probation
      United States Marshal




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